Case 1:15-cr-20597-TLL-PTM ECF No. 87, PageID.399 Filed 08/03/16 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                            Case No. 15-cr-20597

v.                                                          Honorable Thomas L. Ludington

D-1 DANIEL JASON HARRINGTON,

                      Defendant.

_______________________________________/

                  ORDER STRIKING IMPROPERLY FILED MOTION

       On July 12, 2016, Defendant Daniel Harrington personally filed a motion titled “Motion

for Ineffective Assistance of Counsel,” ECF No. 82, which is set for hearing on August 24, 2016.

Defendant alleges that his court-appointed attorney has been ineffective in representing him and

seeks to have his attorney withdrawn from representing him. On July 29, 2016, Harrington

personally filed another motion. This motion is titled “Motion to Exclude Other Act Evidence.”

ECF No. 86. Harrington’s motion filed July 29, 2016, will be stricken.

       “It is well settled that there is no constitutional right to hybrid representation.” United

States v. Lowdermilk, 425 F. App'x 500, 504 (6th Cir. 2011) (quoting United States v. Cromer,

389 F.3d 662, 681 n. 12 (6th Cir.2004)) (internal quotation marks omitted). Absent any proof

that Mr. Karfonta, Harrington’s counsel in this matter, is not able and competent to represent

him, pro se appearances will not be entertained. See Lowdermilk, 425 F. App’x at 504 (finding

no abuse of discretion in denying hybrid representation where defendant’s lawyer was

“competent and capable.”). Harrington alleges in his motion for Mr. Karfonta to withdraw that

Mr. Karfonta is not competent to represent him. But that assertion has not yet been conclusively
Case 1:15-cr-20597-TLL-PTM ECF No. 87, PageID.400 Filed 08/03/16 Page 2 of 2




determined, nor has argument been entertained yet. Thus, Harrington is still represented by

counsel.

       Generally, litigants must choose between proceeding pro se and proceeding with counsel.

United States v. Mosely, 810 F.2d 93, 97 (6th Cir. 1987) (quoting United States v. Conder, 423

F.2d 904, 908 (6th Cir. 1970). The choice of one means of representation precludes reliance on

the other. Id. Permitting deviation from this rule “is a matter committed to the sound discretion

of the trial court.” Id. Harrington has presented no proof that his defense will be compromised if

he is not allowed to proceed pro se at this juncture. He also has not yet demonstrated that his

counsel is deficient in representing him (and he may be unable to so demonstrate). His motion

filed July 29, 2016, will be stricken.

       It is further ORDERED that Defendant Daniel Harrington’s motion to exclude other act

evidence, ECF No. 86, is STRICKEN.

Dated: August 3, 2016                                              s/Thomas L. Ludington
                                                                   THOMAS L. LUDINGTON
                                                                   United States District Judge

                                                  PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing order was served
                         upon each attorney or party of record herein by electronic means or first
                         class U.S. mail on August 3, 2016.

                                                           s/Michael A. Sian
                                                           MICHAEL A. SIAN, Case Manager




                                                          -2-
